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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

 ESTADOS UNIDOS MEXICANOS,                        )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )   Civil Action No. 1:21-CV-11269-FDS
                                                  )
 SMITH & WESSON BRANDS, INC., ET AL.,             )
                                                  )
        Defendants.                               )
                                                  )

                               NOTICE OF APPEARANCE

       Please enter the appearance of Jonathan I. Handler on behalf of Defendant Sturm, Ruger

& Company, Inc. in the above-captioned matter.



                                                  Respectfully submitted,

                                                  STURM, RUGER & COMPANY, INC.,

                                                  By its attorney,




                                                  Jonathan I. Handler (BBO #561475)
                                                  jihandler@daypitney.com
                                                  DAY PITNEY LLP
                                                  One Federal Street, 29th Floor
                                                  Boston, MA 02110
                                                  T: (617) 345-4600
                                                  F: (617) 345-4745
 Dated: September 2, 2021
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                                 CERTIFICATE OF SERVICE

        I, Jonathan I. Handler, hereby certify that this document(s) filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
(NEF) and paper copies will be sent to those indicated as non-registered participants on
September 2, 2021.




                                                   Jonathan I. Handler




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